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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                         :   4:23-CR-159
                                                 :
                    v.                           :   (Chief Judge Brann)
                                                 :
JOSHUA TAYLOR                                    :   (Electronically Filed)

                      MOTION FOR ENLARGEMENT
                  OF TIME TO FILE PRETRIAL MOTIONS
                      AND CONTINUANCE OF TRIAL

        AND NOW comes the Defendant, Joshua Taylor, by his attorney,

Christopher Opiel, Esq., and files the following Motion for Enlargement of Time to

File Pretrial Motions and Continuance of trial respectfully requesting the extend

the time to file pretrial motions for at least one hundred twenty (120) days and to

continue the trial in this matter in accordance with the pretrial motions date. In

support thereof, it is averred as follows:

   1.      On June 13, 2023, Joshua Taylor was charged in an Indictment with:

COUNT 1, conspiracy to knowingly, intentionally, and willfully unlawfully

transport, transmit, and transfer in interstate commerce stolen goods, wares and

merchandise, of the value of $5,000 or more, knowing the same to have been

stolen, converted, and taken by fraud in violation of 18 U.S.C. § 371; and COUNT

4, unlawfully transport, transmit, and transfer in interstate commerce stolen goods,

wares and merchandise, of the value of $5,000 or more, knowing the same to have


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been stolen, converted, and taken by fraud in violation of 18 U.S.C. §§ 2314 and 2.

(Doc. 1).

   2.        On June 14, 2023, Defendant was arraigned on the charges, and he

entered a plea of “not guilty”. (Doc. 12).

   3.        The current deadline for the filing of pretrial motions is March 1, 2024.

(Doc. 65).

   4.        Trial is currently scheduled to commence April 1, 2024. (Doc. 65).

   5.        The parties are currently in the discovery process.

   6.        The Government has disclosed approximately 600,000 documents in

discovery to Undersigned Counsel so far, and the Government has indicated that it

is preparing another 1,200,000 documents to disclose to the defense in the future.

   7.        Defendant has provided a hard drive to the Government for the

additional 1,200,000 documents of discovery to be transferred to and the

Government has indicated that the hard drive should be ready to be sent back to

Defendant soon.

   8.        Defendant respectfully requests a continuance of the pretrial motions

deadline and trial so that Defendant can receive and review discovery.

   9.        Undersigned Counsel contacted AUSA Sean A. Camoni, and AUSA

Camoni indicated that the Government concurs in the within motion.




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   10.     Undersigned Counsel contacted: Patrick A. Casey, Esq., counsel for

codefendant, Cedric Lodge; Edward J. Rymsza, Esq., counsel for codefendant,

Katrina Maclean; and Hope C. Lefeber, Esq., counsel for codefendant, Denise

Lodge; and all counsel listed concur in this motion.

   11.     For the above stated reasons, the Defendant requests at least a one

hundred twenty (120) day extension of time to file pretrial motions, and the trial to

be continued in accordance with the deadline for pretrial motions.

   12.     It is respectfully submitted that failure to grant the extension would

likely result in a miscarriage of justice and deny counsel for the defendant the

reasonable time necessary for effective preparation, taking into account the

exercise of due diligence. 18 U.S.C. §§ 3161(h)(7)(A) and (B)(i) and (iv).

           WHEREFORE, the Defendant, respectfully requests that this Honorable

Court grant the within motion and enlarge the time for the filing of pretrial motions

for at least one hundred twenty (120) days and the trial to be continued in

accordance with that date.

                                        Respectfully submitted,

Date: February 6, 2024                  /s/ Christopher Opiel
                                        Christopher Opiel, Esq.
                                        CJA Appointed Counsel
                                        Attorney ID# PA318776
                                        Opiel Law
                                        88 North Franklin Street

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                          CERTIFICATE OF SERVICE


          I, Christopher Opiel, CJA appointed counsel, do hereby certify that this

document, the foregoing Motion for Enlargement of Time to File Pretrial

Motions and Continuance of Trial, filed electronically through the ECF system

will be sent to the registered Participants as identified on the Notice of Electronic

Filing, including the following:

                    Sean A. Camoni, Esq.
                    Assistant United States Attorney

                    Patrick A. Casey, Esq.,
                    Counsel for codefendant, Cedric Lodge

                    Edward J. Rymsza, Esq.,
                    Counsel for codefendant, Katrina Maclean

                    Hope C. Lefeber, Esq.,
                    Counsel for codefendant, Denise Lodge


Date: February 6, 2024                  /s/ Christopher Opiel
                                        Christopher Opiel, Esq.
                                        CJA Appointed Counsel




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